
Roy Duncan and Air Flow Awning Company, Inc., sought certiorari review of the Court of Civil Appeals' no-opinion affirmance, alleging a conflict with that decision and Cityof Mobile v. Weinacker, 720 So.2d 953 (Ala.Civ.App. 1998).
I write specially to reiterate a fundamental principle about private property set forth in Weinacker:
 "`"[S]o far as [an ordinance] restricts the absolute dominion of the owner over its property, it should furnish a uniform rule of action, and its application cannot be left to the arbitrary will of the governing authorities."' Longshore v. City of Montgomery, 22 Ala.App. 620, 622, 119 So. 599, 600 (1928), quoting City Council of Montgomery v. West, 149 Ala. 311, 314, 42 So. 1000, 1000
(1907)."
720 So.2d at 954-55.